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ProSe1(Rev.12/16)ComplaintforaCivilCase


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please write ''seeattached''in thespaceandattachan additional
pagewiththefulllistofnames.
                          )
                            -   V-




                    Maurizio Cattelan
                      Defendantls)
(Writethefullnameofeachdefendantwhoisbeingsued.lfthe
namesofallthedefendantscannothtinthespaceabove,please
write 's'
        ecattached''in thespace and attach anadditionalpage
withthefulllistofnames.)


                                          C OM PLAINT FO R A CIV IL CASE

         The Partiesto This Com plaint
         A.       ThePlaintiffts)
                  Provide theinformation below foreach plaintiffnam ed in thecomplaint. Attach additionalpagesif
                  needed.
                           Nam e
                           StreetAddress
                           City and County
                           State and Zip Code
                           TelephoneNumber                    (818)422-9263
                           E-mailAddress                      joemorford@ gmail.com

         B.       TheDefendantts)
                  Provide theinformationbelow foreach defendantnam ed in thecomplaint,whetherthe defendantisan
                  individual,a governm entagency,an organization,ora corporation. Foran individualdefendant,
                  includetheperson'sjobortitle(l
                                               fknown).Attachadditionalpagesifneeded.
          Case 1:21-cv-20039-RNS Document 1 Entered on FLSD Docket 01/06/2021 Page 2 of 8
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                                DefendantNo.3
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Case 1:21-cv-20039-RNS Document 1 Entered on FLSD Docket 01/06/2021 Page 3 of 8




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  anotherStateoI-Ilatiol1Ctlld tlleallloulltatstake isnlore than $75,000 isa divcrsity ofcitizenship case. I11a
  diversity ofcitizellshi1)case,no defendantlllay be a citizen ofthe sanle State asany plaintiff.

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  FiIIoutthe paragraphs in thisscction thatapply to thiscase.

  A.       IftheBasisforJtlrisdiction IsaFederalQuestion



            17 U.S C ode,Chapter5 -CO PYRIG HT INFRING EM ENT AND REM EDIES




  B.       Ifthe BasisforJurisdiction Is Diversity ofCitizenship

                    ThePlaintiffts)
                                 Ifthe plaintiffisan individual
                             The plaintiff, p?tw??c?
                                 Stateof(ltallle) cal
                                                    ifornia                                    -


                                 Ifthe plaintiffisa corporatiol1
                             The plaintiff, r??,
                                               w??t?)
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                    The Defendantts)

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                             the State of(tî(l?llc)          (residentofNew York)                     (31
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                                   lfthe defendantisa corporation
                                   The defendant,(name)                                        ,isincorporated under
                                   the lawsofthe State of(name)                                          ,and hasits
                                   principalplace ofbusinessin the State of(name)                                      .
                                   Orisincorporatedunderthelawsof(
                                                                 foreignnation)
                                   and hasitsprincipalplaceofbusinessin (name)

                          (Ifmorethanonedefendantisnamedin thecomplaint,attachanadditionalpageproviding the
                          sameinformationforeach additionaldefendant.)
                  3.      The Amountin Controversy

                          The am ountin controversy-the amountthe plaintiffclaim sthedefendantowesorthe amountat
                          stake-ism orethan $75,000,notcounting interestand costsofcourt,because (explainl:
                           1.Profitsfrom plagiarized work sold totaling $390,000.00.
                           2.Proftisfrom dd
                                          artistproofs'
                                                      'sold to unidentified museums foran undisclosed amount.
                           3.AlIexisting unknownprofitsgeneratedfrom plagi
                                                                         ari
                                                                           zedworkunderthisjurisdiciton.



111.     Statem entofClaim

        W ritea shortand plain statementofthe claim .Do notm ake legalargum ents. Stateasbriefly aspossible the
        factsshowing thateach plaintiffisentitled to the dam agesorotherreliefsought.Statehow each defendantwas
        involved and whateach defendantdid thatcaused the plaintiffharm orviolated the plaintiffsrights,including
        the datesand placesofthatinvolvementorconduct.lfm orethan one claim isasserted,numbereach claim and
        write a shortand plain statem entofeach claim in a separateparagraph. Attach additionalpagesifneeded.
        The plaintiffis seeking damages inthe form ofgross profi
                                                               tgenerated by the defendanttotaling over$390K. This
        isthe amountofmoney madefrom three (3)directsalesofthepiece andtwo (2)dartistproofs''viaArtBaselin
        MiamiBeach (ATTACHMENT 1).Thedefendant'   spiece ''
                                                          Comedian''isplagiarizedfrom the plaintifl'
                                                                                                   soriginalart
        ''Banana & Orange'
                         '(Registrati
                                    on Number:VA0002223672).Aswelltheplaintiflseekscourtcostsandtravel
        expenses regarding the prosecuti
                                       on ofthis case. The plainti# maintains proofofori
                                                                                       gin,accessand substantial
                                                                                                               /
        striking similari
                        ty.



         Relief

        Statebriefly and precisely whatdam agesorotherrelieftheplaintiffasksthe courtto order.Do notm ake legal
        argum ents. Include any basisforclaim ing thatthe wrongsalleged arecontinuing atthe presenttime.lnclude
        theamountsofany actualdamagesclaim ed forthe actsalleged and thebasisfortheseam ounts. lnclude any
        punitive orexemplary damagesclaimed,the amounts,and thereasonsyou claim you are entitled to actualor
        punitive money dnmages.
        The plainti# asks the coul
                                 'tto orderreliefin the form ofgross profi
                                                                         tgenerated from the plagi
                                                                                                 arized workto be paid
        totheplaintip.The defendanthassold,aminimum,offive (5)piecestotalingover$390K.Theplagiarism
        continues presently in the form ormerchandising and promotion. The plainti
                                                                                 ffissuing forthe profitsgenerated
        thatareattributabletothe infringement.Thisistheamountofmoneymadefrom three(3)directsalesofthe
        piece viaArtBaselinMiamiBeach;plustwo(2)Hartistproofs'oftheworkforanundisclosed amount.Aswellthe
        plaintiffseekscourtcosts,travelexpensesandrequestsaIIinfringing materialbe removed.IATTACHMENT2).

                                                                                                                Page4 of5
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V.      Certincation and Closing

        UnderFederalRule ofCivilProcedure 11,by signing below ,lcertify to the bestofm y knowledge,infonnation,
        and beliefthatthiscomplaint:(1)isnotbeing presented foran im properpum ose,such asto harass,cause
        unnecessarydelay,orneedlessly increasethecostoflitigation;(2)issupportedbyexisting law orbya
        nonfrivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
         evidentiary supportor,ifspecifically so identified,willlikely haveevidentiary supportaftera reasonable
         opportunity forfurtherinvestigationordiscovery;and (4)thecomplaintotherwisecomplieswiththe
        requirementsofRule 11.

         A.      ForPartiesW ithoutan Attorney

                  lagree to provide the Clerk'sOffice with any changesto my addresswhere case-related papersm ay be
                  served. Iunderstand thatmy failure to keep a cun-entaddresson t'
                                                                                 ile with the Clerk'sOffice m ay result
                  in thedism issalofmy case.
                                           '

                  oateofsigning:           /    /p

                  Signature ofPlaintiff
                  Printed Nam eofPlainti       J     Orford

         B.      For Attorneys

                  Dateofsigning'
                               .


                  Signature ofAttorney
                  Printed N am eofAttorney
                  BarNumber
                  Name ofLaw Firm
                  StreetAddress
                  State and Zip Code
                  Telephone Number
                  E-m ailAddress
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                                   ATTACHM ENT 1

  Statem ent of Claim
  The defendantsold multiple sculptures and S'adistproofs''ofa workatArtBaselin
  Miami(December2019)*which infringed ontheplaintiffscopyright(VA0002223672):
  1.Plagiarized W allSculpture,Sold
  W hen: Decem ber5 - 8,2019
  Purchaser: Sarah Andelm an,
  W here: ArtBasel,M iamiBeach
  Amount:$120,000.00
  Defendantillegally sold work which infringed on m y copyright.

  2.Plagiarized W allSculpture,Sold
  W hen: D ecem ber5 -8,2019
  Purchaser: Billy and Beatrice Cox
  W here: Ad Basel,M iam iBeach
  Amount:$120,000.00
  3.Plagiarized W allSculpture,Sold
  W hen: Decem ber5 -8,2019
  Purchaser: Anonym ous
  W here: A d Basel,M iam iBeach
  Amount:$150,000.00
  4.Plagiarized ddA rtistProof,''Sold
  W hen: December5 -8,2019
  One (1)ArtistPrintsforundisclosed amount
  Purchaser: U nknow n
  W here: ArtBasel,M iam iBeach
  Am ount: Unknown

  5.Plagiarized d'A rtistProof,''Sold
  W hen: December5 -8,2019
  One (1)ArtistPrintsforundisclosed amount
  Purchaser: Unknow n
  W here: ArtBasel,M iam iBeach
  Amount: Unknown

  6.Additional
  Any ofthe defendant's additionalprofits notpreviously taken into account,which arose
  from the copyrightinfringementunderthejurisdiction ofthis court.
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                                       ATTACHM ENT 2

  Relief

  Iam requesting ...
  1. AIIgross profitsattributable to the infringem ent be disclosed and aw arded to m e.
  2. The cessation ofsale,distribution and display ofany infringing m aterial.
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